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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                  Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)


                                              ORDER

        For the reasons set forth in the sealed memorandum opinion entered on this date, it is
hereby ORDERED that defendant’s Unopposed Motion to Extend Surrender Date [Dkt. # 381] is
GRANTED IN PART. It is ORDERED that the defendant’s date to surrender to the Bureau of
Prisons will be extended for another fourteen days, until July 14, 2020. This affords the defendant
seventy-five days beyond his original report date. It is FURTHER ORDERED that during that
time, defendant’s conditions of release will be modified to include the condition of home
confinement in accordance with the Attorney General’s memorandum and the strong medical
recommendation submitted to the Court by the defense. Pretrial Services may monitor his
compliance through any appropriate electronic or nonelectronic means selected in its discretion in
accordance with its current practices, which may include such methods as SmartLINK or Voice
Recognition. This will address the defendant’s stated medical concerns during the current increase of
reported cases in Florida, and Broward County in particular, and it will respect and protect the health
of other inmates who share defendant’s anxiety over the potential introduction and spread of the
virus at this now-unaffected facility.

        The Court is of the view that the sealed memorandum opinion could be unsealed in its
entirety because while it refers to sealed pleadings, it does not identify any medical condition or
conditions or contain any private medical information. The parties must inform the Court by
June 29, 2020 whether they agree that the memorandum opinion may be unsealed, and if not,
what portions should be redacted and why.

       SO ORDERED.




                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: June 26, 2020
